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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO

FANNIE MAE,                              CIVIL ACTION
Midtown Center, 1100 15th Street NW,
Washington, DC 20005                     Case No.: 2: 25-cv-76

                    Plaintiff,
      v.

SAR PALAZZO OHIO, LLC,
3001 West Hallandale Beach Blvd, #300,
Pembroke Park, FL 33009

SAR PALAZZO OHIO 3, LLC,
3001 West Hallandale Beach Blvd, #300,
Pembroke Park, FL 33009


SAR PALAZZO OHIO 4, LLC
3001 West Hallandale Beach Blvd, #300,
Pembroke Park, FL 33009

LAWNMAX USA LLC
2175 Kingsley Avenue #213,
Orange Park, FL 32073

GARVER ASSET PROTECTION, LLC
22 Valley View Drive SE,
Heath, OH 43056

9D BOBALOES LLC DBA MIGHTY DOG
ROOFING OF COLUMBUS WEST
2041 Riverside Drive, Suite 101,
Columbus, OH 43229

STEALTH MONITORING INC.
15182 Marsh Land,
Addison, TX 75001

PROFESSIONAL GUTTER & DRAIN
LTD.
1605 Buckeye Park Rd.,
Columbus, OH 43207
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 OHIO HEATING & REFRIGERATION
 1624 Clara St.
 Columbus, OH 43207

 K KERN PAINTING, LLC
 211 N Reynolds Road,
 Toledo, OH 43615

 and

 INTEGRATED PROTECTION
 SERVICES, INC.
 5303 Lester Road,
 Cincinnati, OH 45213

                       Defendants.


  COMPLAINT FOR MONEY JUDGMENT, IN MORTGAGE FORECLOSURE, AND
                 FOR APPOINTMENT OF A RECEIVER

               Plaintiff Fannie Mae (“Plaintiff”), through its undersigned counsel, commences this

action (i) for money judgment, (ii) in mortgage foreclosure, and (iii) for the appointment of a

receiver against SAR Palazzo Ohio, LLC; SAR Palazzo Ohio 3, LLC; and, SAR Palazzo Ohio 4,

LLC (each a “Borrower-Defendant” and collectively, “Borrower-Defendants”), and in support

hereof, avers as follows:




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                                               INTRODUCTION

                    1.      This is an action for money judgment, to foreclose on three commercial

mortgages (together, the “Mortgages”) secured by real property located in Columbus, Ohio
                                  1
(together, the “Properties”) , and for the appointment of a receiver. Plaintiff holds mortgages on

each of the Properties, which secure loans, which have been in payment default since November
            2
of 2024.

                    2.      Borrower-Defendants have failed to make the required payments under the

Loan Documents (as defined herein). The Loan Agreements (as defined herein) require the

Borrower-Defendants to make certain Monthly Debt Service Payments.                                The Borrower-

Defendants’ failure to make any of the required Monthly Debt Service Payments constitute an

Event of Default under the Loan Documents.

                    3.      Following an Event of Default, Plaintiff’s remedies under the Loan

Documents include the appointment of a receiver to protect the Properties and the foreclosure of

Fannie Mae’s senior security interests. Because of the Borrower-Defendants’ non-payment of the

Monthly Debt Service Payments, Plaintiff is concerned that the Borrower-Defendants lack

sufficient capital to protect and maintain the Properties. Indeed, not only is Plaintiff seeking to

foreclose on the Properties and obtain the appointment of a receiver, but the City of Columbus has

also filed renewed litigation against the Borrower-Defendants for, among other reasons, the

Borrower-Defendants’ failure to comply with applicable city building codes.




1
    The addresses of the Properties are: 2300 Fitzroy Place S, Columbus, Ohio 43224; 4388 Walford Street, Columbus,
    Ohio 43224; and 1980 Belcher Drive, Columbus, Ohio 43224.
2
    The non-Borrower-Defendant defendants are named as defendants as they claim a junior interest in the Properties.



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                                               PARTIES

A.     The Plaintiff

               4.      Plaintiff Fannie Mae is a federally chartered corporation organized and

existing under the laws of the United States. Fannie Mae maintains its principal office in

Washington, D.C., and is a citizen of the District of Columbia for purposes of jurisdiction and

venue. 12 U.S.C. § 1717(a)(2)(B).

               5.      Plaintiff is the current owner and holder of the Loan Documents (as such

term is defined herein) referenced in this Complaint. Fannie Mae is a government-sponsored

enterprise and a federally chartered entity that Congress created to enhance the nation’s housing-

finance market. Under its federal statutory charter, Fannie Mae has a public mission to provide

liquidity, stability, and affordability to the U.S. housing market, including the market for quality,

affordable rental housing. Fannie Mae is operating under the conservatorship of the Federal

Housing Finance Agency (“FHFA”), which is an independent agency of the United States created

in 2008 to supervise certain Government Sponsored Enterprises including Fannie Mae. See 12

U.S.C. § 4511 et seq. Among other powers, Congress granted the Director of FHFA the authority

to place Fannie Mae into conservatorship under certain, statutorily defined conditions, which the

Director did in 2008. As Conservator, FHFA has broad statutory powers, including the powers to

preserve and conserve Fannie Mae’s assets and property, and to collect obligations due Fannie

Mae. FHFA’s ability to exercise its statutory powers and functions as Conservator is protected by

federal law. See, e.g., 12 U.S.C. § 4617(f).

B.     The Defendants

               6.      SAR Palazzo Ohio, LLC (“SAR Palazzo Ohio”) is a Florida limited liability

company organized and existing under the laws of the State of Florida, having an address at 3001

West Hallandale Beach Blvd, #300, Pembroke Park, FL 33009. The members of SAR Palazzo


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Ohio are SAR Apartment Capital, LLC (“SAR Apartment Capital”), Abiel Ballesteros, Sam

Jazayri, and Rene Sanchez. Abiel Ballesteros is an individual and resident of the State of Florida

with an address at 5805 Blue Lagoon Dr. #178, Miami, FL 33126. Sam Jazayri is an individual

and resident of the State of Florida with an address at 3001 West Hallandale Beach Blvd, #300,

Pembroke Park, FL 33009. Rene Sanchez is an individual and resident of the State of Florida with

an address at 13190 SW 134th Street #103, Miami, FL 33186. SAR Apartment Capital is a Florida

limited liability company organized and existing under the laws of the State of Florida, having an

address at 3001 West Hallandale Beach Blvd, #300, Pembroke Park, FL 33009. The members of

SAR Apartment Capital are Abiel Ballesteros, Sam Jazayri, and Rene Sanchez, and because Abiel

Ballesteros, Sam Jazayri, and Rene Sanchez are all residents of the State of Florida, SAR

Apartment Capital is a resident of the State of Florida. Because the members of SAR Palazzo

Ohio are all residents of the State of Florida, SAR Palazzo Ohio is a resident of the State of Florida.

               7.      SAR Palazzo Ohio 3, LLC (“SAR Palazzo Ohio 3”) is a Florida limited

liability company organized and existing under the laws of the State of Florida, having an address

at 3001 West Hallandale Beach Blvd, #300, Pembroke Park, FL 33009. The members of SAR

Palazzo Ohio 3 are SAR Apartment Capital, Abiel Ballesteros, Sam Jazayri, and Rene Sanchez.

Abiel Ballesteros is an individual and resident of the State of Florida with an address at 5805 Blue

Lagoon Dr. #178, Miami, FL 33126. Sam Jazayri is an individual and resident of the State of

Florida with an address at 3001 West Hallandale Beach Blvd, #300, Pembroke Park, FL 33009.

Rene Sanchez is an individual and resident of the State of Florida with an address at 13190 SW

134th Street #103, Miami, FL 33186. SAR Apartment Capital is a Florida limited liability company

organized and existing under the laws of the State of Florida, having an address at 3001 West

Hallandale Beach Blvd, #300, Pembroke Park, FL 33009. The members of SAR Apartment




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Capital are Abiel Ballesteros, Sam Jazayri, and Rene Sanchez, and because Abiel Ballesteros, Sam

Jazayri, and Rene Sanchez are all residents of the State of Florida, SAR Apartment Capital is a

resident of the State of Florida. Because the members of SAR Palazzo Ohio 3 are all residents of

the State of Florida, SAR Palazzo Ohio 3 is a resident of the State of Florida.

                  8.   SAR Palazzo Ohio 4, LLC (“SAR Palazzo Ohio 4”) is a Florida limited

liability company organized and existing under the laws of the State of Florida, having an address

at 3001 West Hallandale Beach Blvd, #300, Pembroke Park, FL 33009. The members of SAR

Palazzo Ohio 4 are SAR Apartment Capital, Abiel Ballesteros, Sam Jazayri, and Rene Sanchez.

Abiel Ballesteros is an individual and resident of the State of Florida with an address at 5805 Blue

Lagoon Dr. #178, Miami, FL 33126. Sam Jazayri is an individual and resident of the State of

Florida with an address at 3001 West Hallandale Beach Blvd, #300, Pembroke Park, FL 33009.

Rene Sanchez is an individual and resident of the State of Florida with an address at 13190 SW

134th Street #103, Miami, FL 33186. SAR Apartment Capital is a Florida limited liability company

organized and existing under the laws of the State of Florida, having an address at 3001 West

Hallandale Beach Blvd, #300, Pembroke Park, FL 33009. The members of SAR Apartment

Capital are Abiel Ballesteros, Sam Jazayri, and Rene Sanchez, and because Abiel Ballesteros, Sam

Jazayri, and Rene Sanchez are all residents of the State of Florida, SAR Apartment Capital is a

resident of the State of Florida. Because the members of SAR Palazzo Ohio 4 are all residents of

the State of Florida, SAR Palazzo Ohio 4 is a resident of the State of Florida.

                  9.   Through information and belief, LawnMax USA, LLC (“LawnMax”) is a

Florida limited liability company with its principal place of business at 2175 Kingsley Avenue

#213, Orange Park, FL 32073. LawnMax is named as a Defendant as it claims a junior interest in

the Properties.




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                10.     Garver Asset Protection LLC (“Garver”) is an Ohio limited liability

company with its principal place of business at 103 East Walnut St., Pleasantville, OH 43148.

Garver is named as a Defendant as it claims a junior interest in the Properties.

                11.     9D Bobaloes LLC DBA Mighty Dog Roofing of Columbus West (“Mighty

Dog”) is an Ohio limited liability company with its principal place of business at 2041 Riverside

Drive, Suite 101, Columbus, OH 43229. Mighty Dog is named as a Defendant as it claims a junior

interest in the Properties.

                12.     Stealth Monitoring Inc. (“Stealth”) is a Texas corporation with its principal

place of business at 15182 Marsh Land, Addison, TX 75001. Stealth is named as a Defendant as

it claims a junior interest in the Properties.

                13.     Professional Gutter & Drain Ltd. (“Gutter”) is an Ohio limited liability

company with its principal place of business at 1605 Buckeye Park Rd., Columbus, OH 43207.

Gutter is named as a Defendant as it claims a junior interest in the Properties.

                14.     Ohio Heating & Refrigeration (“Ohio Heating”) is the registered trade name

of Sam Goldstein Norman with a principal place of business at 1624 Clara St., Columbus, OH

43207. Ohio Heating is named as a Defendant as it claims a junior interest in the Properties.

                15.     K Kern Painting, LLC (“K Kern”) is an Ohio limited liability company with

its principal place of business at 211 N. Reynolds Road, Toledo, OH 43615. K Kern is named as

a Defendant as it claims a junior interest in the Properties.

                16.     Integrated Protection Services, Inc. (“Integrated”) is an Ohio corporation

with its principal place of business at 5303 Lester Road, Cincinnati, OH 45213. Integrated is named

as a Defendant as it claims a junior interest in the Properties.




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               17.     As a result, Borrower-Defendants are not citizens of the District of

Columbia because their members are not citizens of the District of Columbia.

                                  JURISDICTION AND VENUE

               18.     This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because the matter

in controversy exceeds $75,000 and the action is between citizens of different states.

               19.     For purposes of diversity jurisdiction, Plaintiff is a citizen of Washington,

D.C. 12 U.S.C. § 1717(a)(2)(B).

               20.     For purposes of diversity jurisdiction, Borrower-Defendants are not citizens

of Washington, D.C. because none of their members are citizens of Washington, D.C.

               21.     This Court has personal jurisdiction over the Borrower-Defendants because,

inter alia, Borrower-Defendants agreed to submit to personal jurisdiction in the federal and state

courts in the State of Ohio according to the terms of the Loan Documents (as defined herein).

               22.     Venue exists in this judicial district pursuant to 28 U.S.C. § 1391(a)(2)

because the real properties that are the subject of this action are situated in this district. Moreover,

pursuant to Section 12 of the Loan Agreements (as defined below) the Borrower-Defendants

consented to jurisdiction and venue in this Court.

                                               FACTS

A.     The Mortgages, Loan Documents, and Loan Assignments to Plaintiff

               23.     Each mortgage loan for the Properties is governed by certain loan

documents, as described below. The terms of these loan documents are all substantially identical

to one another. Collectively, these Notes, Loan Agreements, Mortgage Agreements, Guaranties,

and all attachments thereto and assignments thereof are referred to as the “Loan Documents.”

               24.     The financial terms of each mortgage loan are spelled out in the Schedules

to each Loan Agreement.


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               25.      Each mortgage loan is guaranteed by Abiel Ballesteros (“Ballesteros”),

Rene Sanchez (“Sanchez”), and Sam Jazayri (“Jazayri”) (together, Ballesteros, Sanchez, and

Jazayri are referred to herein as the “Guarantor”).

               26.      SAR Palazzo Ohio owes an outstanding principal sum of $7,096,000.00 on

its mortgage loan; SAR Palazzo Ohio 3 owes an outstanding principal sum of $4,851,000.00 on

its mortgage loan; and SAR Palazzo Ohio 4 owes an outstanding principal sum of $2,361,000.00

on its mortgage loan.

               27.      Collectively, the mortgage loans currently total $14,308,000.00 in

outstanding principal indebtedness due to Plaintiff.

       (i)     SAR Palazzo Ohio, LLC

               28.      On August 30, 2018, Arbor Commercial Funding I, LLC, as original lender

(“Original Lender”), loaned $7,096,000.00 (the “Tall Oaks Loan”) to Tall Oaks Realty, LLC

(“Prior Borrower Tall Oaks”) pursuant to that certain Multifamily Loan and Security Agreement

(Non-Recourse) (as amended and restated thereafter, the “Tall Oaks Loan Agreement”) and related

Tall Oaks Loan Documents (as defined herein). A true and correct copy of the Tall Oaks Loan

Agreement, including the July 25, 2022 amendment, is attached hereto as Exhibit 1 and

incorporated by reference herein.

               29.      The Tall Oaks Loan is evidenced by a Multifamily Note (the “Tall Oaks

Note”), dated September August 30, 2018. A true and correct copy of the Tall Oaks Note is

attached hereto as Exhibit 2 and incorporated by reference herein.

               30.      The Tall Oaks Note is secured by that certain Open-End Multifamily

Mortgage, Assignment of Leases and Rents, Security Agreement and Fixture Filing (the “Tall

Oaks Mortgage”) granted by Borrower-Defendant Tall Oaks to Original Lender, dated August 30,




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2018, and made effective as of August 30, 2018. That Tall Oaks Mortgage was recorded on

September 6, 2018, with the Franklin County Clerk/Register’s Office (the “Register’s Office”) at

Document ID: 201809060120610, and encumbers the property located at 2300 Fitzroy Place S,

Columbus, Ohio 43224, as more particularly described therein (the “Tall Oaks Mortgaged

Property”). A true and correct copy of the Tall Oaks Mortgage is attached hereto as Exhibit 3 and

incorporated by reference herein.

               31.    The Tall Oaks Mortgage also constitutes a security agreement with respect

to the personal property, see Tall Oaks Mortgage, Section 2, and, because the Tall Oaks Mortgage

was recorded on September 6, 2018, constitutes “fixture filing[s]” within the meaning of section

9-334 of the Uniform Commercial Code as adopted in Ohio. See O.R.C Ann. § 1309.334.

               32.    Original Lender assigned Plaintiff all right, title, and interest in and to the

Tall Oaks Mortgage pursuant to the Assignment of Security Instrument (the “Tall Oaks Mortgage

Assignment”), dated August 30, 2018. A true and correct copy of the Tall Oaks Mortgage

Assignment is attached hereto as Exhibit 4 and incorporated by reference herein.

               33.    The Tall Oaks Mortgaged Property encumbered by the Tall Oaks Mortgage

is described more particularly in Exhibit 5 attached hereto and incorporated by reference herein.

               34.    On July 25, 2022, Prior Borrower Tall Oaks entered into an Assumption

and Release Agreement (the “SAR Palazzo Ohio Assumption and Release”) with SAR Palazzo

Ohio and Guarantor by which Prior Borrower assigned, and SAR Palazzo Ohio assumed, all of the

payment and performance obligations under the Tall Oaks Loan Documents. A true and correct

copy of the SAR Palazzo Ohio Assumption and Release is attached hereto as Exhibit 6.

               35.    Guarantor, as individuals, executed and delivered to Plaintiff that certain

Guaranty of Non-Recourse Obligations (the “Tall Oaks Guaranty”), dated July 25, 2022, pursuant




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to which Guarantor guaranteed all amounts owed to Plaintiff pursuant to the Tall Oaks Loan

Agreement, including all of Plaintiff’s fees and expenses incurred by Plaintiff in enforcing its

rights under the Tall Oaks Guaranty. A true and correct copy of the Tall Oaks Guaranty is attached

hereto as Exhibit 7 and incorporated by reference herein.

                 36.   The Tall Oaks Note is further secured by the UCC-1 Financing Statement

duly filed with the State of Florida’s Division of Corporations on August 2, 2022, at Instrument

Number 202202505705 (the “Tall Oaks Financing Statement”). A true and correct copy of the

Tall Oaks Financing Statement is attached hereto as Exhibit 8 and incorporated by reference

herein.

                 37.   The Tall Oaks Note, the Tall Oaks Mortgage, the Tall Oaks Guaranty, and

all such other documents executed by the Obligors to secure the Tall Oaks Note are referred

collectively as the “Tall Oaks Loan Documents.”

                 38.   In accordance with section 9-604 of the Uniform Commercial Code as

adopted in Ohio, because the Tall Oaks Mortgage covers both personal and real property, Plaintiff

may proceed as to both the personal property and the real property in accordance with the rights

with respect to the real property. See O.R.C Ann. § 1309.604.

                 39.   The personal property in which SAR Palazzo Ohio granted the Lender a

security interest is identified in the Tall Oaks Mortgage. See Tall Oaks Mortgage, pp. 7-8.

                 40.   In accordance with O.R.C Ann. § 2329.191, a title commitment is attached

hereto as Exhibit 9 and incorporated by reference herein.

          (ii)   SAR Palazzo Ohio 3, LLC

                 41.   On August 30, 2018, Original Lender, loaned $4,851,000.00 (the

“Winterwood Apartments Loan”) to Winterwood Management, LLC (“Prior Borrower




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Winterwood Management”) pursuant to that certain Multifamily Loan and Security Agreement

(Non-Recourse) (as amended and restated thereafter, the “Winterwood Apartments Loan

Agreement”) and related Winterwood Apartments Loan Documents (as defined herein). A true

and correct copy of the Winterwood Apartments Loan Agreement, including the July 25, 2022

amendment, is attached hereto as Exhibit 10 and incorporated by reference herein.

              42.     The Winterwood Apartments Loan is evidenced by a Multifamily Note (the

“Winterwood Apartments Note”), dated August 30, 2018. A true and correct copy of the

Winterwood Apartments Note is attached hereto as Exhibit 11 and incorporated by reference

herein.

              43.     The Winterwood Apartments Note is secured by that certain Open-End

Multifamily Mortgage, Assignment of Leases and Rents, Security Agreement and Fixture Filing

(the “Winterwood Apartments Mortgage”) granted by Borrower-Defendant Winterwood

Apartments to Original Lender, dated August 30, 2018, and made effective as of August 30, 2018.

That Winterwood Apartments was recorded on September 6, 2018, with the Franklin County

Clerk/Register’s Office (the “Register’s Office”) at Document ID: 201809060120606, and

encumbers the property located at 4388 Walford Street, Columbus, Ohio 43224, as more

particularly described therein (the “Winterwood Apartments Mortgaged Property”). A true and

correct copy of the Winterwood Apartments Mortgage is attached hereto as Exhibit 12 and

incorporated by reference herein.

              44.     The Winterwood Apartments Mortgage also constitutes a security

agreement with respect to the personal property, see Winterwood Apartments Mortgage, Section

2, and, because the Winterwood Apartments Mortgage was recorded on September 6, 2018,




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constitutes “fixture filing[s]” within the meaning of section 9-334 of the Uniform Commercial

Code as adopted in Ohio. See O.R.C Ann. § 1309.334.

               45.     Original Lender assigned Plaintiff all right, title, and interest in and to the

Winterwood Apartments Mortgage pursuant to the Assignment of Security Instrument (the

“Winterwood Apartments Mortgage Assignment”), dated August 30, 2018. A true and correct

copy of the Winterwood Apartments Mortgage Assignment is attached hereto as Exhibit 13 and

incorporated by reference herein.

               46.     The Winterwood Apartments Mortgaged Property encumbered by the

Winterwood Management Mortgage is described more particularly in Exhibit 14 attached hereto

and incorporated by reference herein.

               47.     On July 25, 2022, Prior Borrower Winterwood Management entered into an

Assumption and Release Agreement (the “SAR Palazzo Ohio 3 Assumption and Release”) with

SAR Palazzo Ohio 3 and Guarantor by which Prior Borrower Winterwood Management assigned,

and SAR Palazzo Ohio 3 assumed, all of the payment and performance obligations under the

Winterwood Apartments Loan Documents. A true and correct copy of the SAR Palazzo Ohio 3

Assumption and Release is attached hereto as Exhibit 15.

               48.     Guarantor, as individuals, executed and delivered to Plaintiff that certain

Guaranty of Non-Recourse Obligations (the “Winterwood Apartments Guaranty”), dated July 25,

2022, pursuant to which Guarantor guaranteed all amounts owed to Plaintiff pursuant to the

Winterwood Apartments Loan Agreement, including all of Plaintiff’s fees and expenses incurred

by Plaintiff in enforcing its rights under the Winterwood Apartments Guaranty. A true and correct

copy of the Winterwood Apartments Guaranty is attached hereto as Exhibit 16 and incorporated

by reference herein.




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               49.     The Winterwood Apartments Note is further secured by the UCC-1

Financing Statement duly filed with the State of Florida’s Division of Corporations on August 2,

2022, at Instrument Number 20220250557x (the “Winterwood Apartments Financing Statement”).

A true and correct copy of the Winterwood Apartments Financing Statement is attached hereto as

Exhibit 17 and incorporated by reference herein.

               50.     The Winterwood Apartments Note, the Winterwood Apartments Mortgage,

the Winterwood Apartments Guaranty, and all such other documents executed by the Obligors to

secure the Winterwood Apartments Note are referred collectively to as the “Winterwood

Apartments Loan Documents.”

               51.     In accordance with section 9-604 of the Uniform Commercial Code as

adopted in Ohio, because the Winterwood Apartments Mortgage covers both personal and real

property, Plaintiff may proceed as to both the personal property and the real property in accordance

with the rights with respect to the real property. See O.R.C Ann. § 1309.604.

               52.     The personal property in which SAR Palazzo Ohio 3 granted the Lender a

security interest is identified in the Winterwood Apartments Mortgage.            See Winterwood

Apartments Mortgage, pp. 7-8.

               53.     In accordance with O.R.C Ann. § 2329.191, a title commitment is attached

hereto as Exhibit 18 and incorporated by reference herein.

       (iii)   SAR Palazzo Ohio 4, LLC

               54.     On August 30, 2018, Original Lender, loaned $2,361,000.00 (the

“Winterwood Gardens Loan”) to Winterwood Gardens, LLC (“Prior Borrower Winterwood

Gardens”) pursuant to that certain Multifamily Loan and Security Agreement (Non-Recourse) (as

amended and restated thereafter, the “Winterwood Gardens Loan Agreement”) and related




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Winterwood Gardens Loan Documents (as defined herein). A true and correct copy of the

Winterwood Gardens Loan Agreement, including the July 25, 2022 amendment, is attached hereto

as Exhibit 19 and incorporated by reference herein.

              55.     The Winterwood Gardens Loan is evidenced by a Multifamily Note (the

“Winterwood Gardens Note”), dated August 30, 2018. A true and correct copy of the Winterwood

Gardens Note is attached hereto as Exhibit 20 and incorporated by reference herein.

              56.     The Winterwood Gardens Note is secured by that certain Open-End

Multifamily Mortgage, Assignment of Leases and Rents, Security Agreement and Fixture Filing

(the “Winterwood Gardens Mortgage”) granted by Borrower-Defendant Winterwood Gardens to

Original Lender, dated August 30, 2018, and made effective as of August 30, 2018. That

Winterwood Gardens Mortgage was recorded on September 6, 2018, with the Franklin County

Clerk/Register’s Office (the “Register’s Office”) at Document ID: 201809060120616, and

encumbers the property located at 1980 Belcher Drive, Columbus, Ohio 43224, as more

particularly described therein (the “Winterwood Gardens Mortgaged Property”). A true and

correct copy of the Winterwood Gardens Mortgage is attached hereto as Exhibit 21 and

incorporated by reference herein.

              57.     The Winterwood Gardens Mortgage also constitutes a security agreement

with respect to the personal property, see Winterwood Gardens Mortgage, Section 2, and, because

Winterwood Gardens Mortgage was recorded on September 6, 2018, constitutes “fixture filing[s]”

within the meaning of section 9-334 of the Uniform Commercial Code as adopted in Ohio. See

O.R.C Ann. § 1309.334.

              58.     Original Lender assigned Plaintiff all right, title, and interest in and to the

Winterwood Gardens Mortgage pursuant to the Assignment of Security Instrument (the




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“Winterwood Gardens Mortgage Assignment”), dated August 30, 2018. A true and correct copy

of the Winterwood Gardens Mortgage Assignment is attached hereto as Exhibit 22 and

incorporated by reference herein.

               59.    The Winterwood Gardens Mortgaged Property encumbered by the

Winterwood Gardens Mortgage is described more particularly in Exhibit 23 attached hereto and

incorporated by reference herein.

               60.    On July 24, 2022, Prior Borrower Winterwood Gardens entered into an

Assumption and Release Agreement (the “SAR Palazzo Ohio 4, Assumption and Release”) with

SAR Palazzo Ohio 4 and Guarantor by which Prior Borrower Winterwood Gardens assigned, and

SAR Palazzo Ohio 4 assumed, all of the payment and performance obligations under the

Winterwood Gardens Loan Documents. A true and correct copy of the SAR Palazzo Ohio 4

Assumption and Release is attached hereto as Exhibit 24.

               61.    Guarantor, as individuals, executed and delivered to Plaintiff that certain

Guaranty of Non-Recourse Obligations (the “Winterwood Gardens Guaranty”), dated July 25,

2022, pursuant to which Guarantor guaranteed all amounts owed to Plaintiff pursuant to the

Winterwood Gardens Loan Agreement, including all of Plaintiff’s fees and expenses incurred by

Plaintiff in enforcing its rights under the Winterwood Gardens Guaranty. A true and correct copy

of the Winterwood Gardens Guaranty is attached hereto as Exhibit 25 and incorporated by

reference herein.

               62.    The Winterwood Gardens Note is further secured by the UCC-1 Financing

Statement duly filed with the State of Florida’s Division of Corporations on August 2, 2022, at

Instrument Number 202202505060 (the “Winterwood Gardens Financing Statement”). A true and




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correct copy of the Winterwood Gardens Financing Statement is attached hereto as Exhibit 26 and

incorporated by reference herein.

               63.     The Winterwood Gardens Note, the Winterwood Gardens Mortgage, the

Winterwood Gardens Guaranty, and all such other documents executed by the Obligors to secure

the Winterwood Gardens Note are referred collectively to as the “Winterwood Gardens Loan

Documents.”

               64.     In accordance with section 9-604 of the Uniform Commercial Code as

adopted in Ohio, because the Winterwood Gardens Mortgage covers both personal and real

property, Plaintiff may proceed as to both the personal property and the real property in accordance

with the rights with respect to the real property. See O.R.C Ann. § 1309.604.

               65.     The personal property in which SAR Palazzo Ohio 4 granted the Lender a

security interest is identified in the Winterwood Gardens Mortgage. See Winterwood Gardens

Mortgage, pp. 7-8.

               66.     In accordance with O.R.C Ann. § 2329.191, a title commitment is attached

hereto as Exhibit 27 and incorporated by reference herein.

B.     Defaults, Fees, and Remedies, Including Foreclosure, Under the Loan Documents

               67.     Under Section 14.01(a)(1) of the Loan Agreements, any failure by a

Borrower-Defendants to pay or deposit when due any amount required by the Notes, the Mortgage

Agreements, or any other Loan Document is deemed an automatic “Event of Default.” See

Exhibits 1, 10, 19. This includes failure to pay any Monthly Debt Service Payment (as defined

below) or failure to replenish the Replacement Reserve Account Funds (as defined below).

               68.     Pursuant to Section § 2.02(a)(3) of the Loan Agreements, the

Borrower-Defendants are required to make Monthly Debt Service Payments (comprised of either




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interest only or principal and interest, depending on the amortization type), each in the amount of

the applicable “Monthly Debt Service Payment.” See id.

                   69.      Under Section 2.02(d)(1)(A) of the Loan Agreements, if any principal,

interest, or other indebtedness due under the Loan Documents remains past due for thirty (30) days

or more, then interest on such unpaid amount(s) shall accrue from the date payment is due at the

“Default Rate.” See id. The Default Rate is defined in the Loan Agreements to be the lesser of

“the sum of the Interest Rate plus four (4) percentage points” or “the maximum interest rate which

may be collected from Borrower under applicable law.” See id., Schedule 1.

                   70.      Additionally, under Section 2.02(c) of the Loan Agreements, if any amount

payable under the Loan Agreements is not received by Lender within ten days of the due date, the

Borrower-Defendants are required to pay Lender a late charge. Id. The late charge is payable in

addition to, and not in lieu of, any interest payable at the Default Rate. Id.

                   71.      In addition, under Section 13.02(a)(4), Plaintiff may provide written notice

to Defendant-Borrowers that additional funds are required to be deposited into the Replacement

Reserve Account or the Repairs Escrow Account (the “Replacement Reserve Account Funds”) if

Plaintiff determines that the amounts on deposit are not sufficient to cover the costs of Additional
                                                                          3
Lender Repairs and Additional Lender Replacements. See id.

                   72.      Pursuant to Section 3 of the Notes and Sections 1 and 3 of the Mortgages,

an Event of Default under the Loan Agreements is an Event of Default under the Notes and

Mortgages. See Exhibits 2, 11, 20; Exhibits 3, 12, 21.

                   73.      Pursuant to Section 14.02(a) of the Loan Agreements and Section 5 of the



3
    Additionally, under Section 6.02(b) of the Loan Agreements, Defendant-Borrowers must keep the property in good
    repair and marketable condition. See id. Pursuant to Section 6.03(c) Plaintiff is permitted to obtain a property
    condition assessment of property at Defendant-Borrowers’ expense. See id.


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Mortgages, Plaintiff has the right to foreclose on the Mortgages and to obtain an order directing

the sale of the Mortgaged Properties to satisfy the indebtedness it is owed. See Exhibits 1, 10, 19;

Exhibits 3, 12, 21.

                   74.     Pursuant to Section 4 of the Mortgages, Plaintiff may recover, inter alia, its

out-of-pocket expenses incurred as part of protecting its interests in the Properties. See Exhibits

3, 12, 21.

                   75.     The Mortgages provide the following remedies (among others) to Plaintiff:

                                  a.     Pursuant to Section 5(a) of the Mortgages, Plaintiff
                           may foreclose on the Properties. See id.

                                   b.      Pursuant to Section 3(e) of the Mortgages, Plaintiff
                           may seek the appointment of a receiver over the Mortgaged
                           Properties as a matter of right, without consideration of the value of
                           the Mortgaged Properties, without the necessity of giving prior
                           notice (oral or written) to Borrower(s). See id. (emphasis added).

C.        Failures to Make Monthly Payments Due and Events of Default

                   76.     The Tall Oaks Mortgage, Winterwood Apartments Mortgage, and

Winterwood Gardens Mortgage are in default due to, and without waiving any other defaults that

may have occurred, Borrower-Defendants’ (i) continued failure to timely pay all amounts due

under the Loan Documents by failing to make the required Monthly Debt Service Payments for

November 2024, and December 2024; and (ii) failure to replenish the Replacement Reserve
                    4
Account Funds.

                   77.     Without limitation, each Borrower-Defendant has failed to make the

required Monthly Debt Service Payments since November 2024. Each of Borrower-Defendants’

failures to make a required Monthly Debt Service Payments constitute a separate Event of Default


4
    Borrower-Defendants are additionally in default based on the failure to maintain the Mortgaged Property in
    accordance with the terms of the Loan Documents, including, but not limited to, Article 6 therein, because the
    Borrower-Defendants have allowed the Properties to fall into disrepair and have not complied with the required
    repair schedules.


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under Section 14.01(a)(1) of the Loan Agreements:

                             a.     On November 1, 2024, SAR Palazzo Ohio failed to
                      make the scheduled November 2024 Monthly Debt Service Payment
                      of $31,102.16 by the Payment Date, as required under Tall Oaks
                      Loan Documents. See Loan Agreements, § 2.02(a)(3); Schedule 2,
                      p. 4.

                             b.     On November 1, 2024, SAR Palazzo Ohio 3 failed to
                      make the scheduled November 2024 Monthly Debt Service Payment
                      of $21,262.20 by the Payment Date, as required under Winterwood
                      Apartment Loan Documents. See id.

                             c.     On November 1, 2024, SAR Palazzo Ohio 4 failed to
                      make the scheduled November 2024 Monthly Debt Service Payment
                      of $10,348.39 by the Payment Date, as required under Winterwood
                      Gardens Loan Documents. See id.

               78.    Additionally,   Borrower-Defendants     have    failed   to   replenish   the

Replacement Reserve Account Funds as set forth under Section 13.02(a)(4) of the Loan

Agreements.

               79.    As of January 15, 2025, there is due and owing on the Tall Oaks Loan

without defense, deduction, offset, recoupment, or counterclaim the total amount of $7,263,274.40,

consisting of (i) the unpaid principal amount under the Tall Oaks Note of $7,096,000.00, and (ii)

the aggregate accrued, and unpaid interest under the Tall Oaks Note of $167,274.40. Interest

continues to accrue at the per diem rate of $1,791.74, and pursuant to the Tall Oaks Loan

Documents, fees, costs, expenses, and other charges continue to accrue, which are part of

Plaintiff’s total damages claim under the Tall Oaks Loan Documents.

               80.    As of January 15, 2025, there is due and owing on the Winterwood

Apartments Loan without defense, deduction, offset, recoupment, or counterclaim the total amount

of $4,965,352.89, consisting of (i) the unpaid principal amount under the Winterwood Apartments

Note of $4,851,000.00, and (ii) the aggregate accrued, and unpaid interest under the Winterwood

Apartments Note of $114,352.89. Interest continues to accrue at the per diem rate of $1,224.88,

and pursuant to the Winterwood Apartments Loan Documents, fees, costs, expenses, and other


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charges continue to accrue, which are part of Plaintiff’s total damages claim under the Winterwood

Apartments Loan Documents.

                81.    As of January 15, 2025, there is due and owing on the Winterwood Gardens

Loan without defense, deduction, offset, recoupment, or counterclaim the total amount of

$2,416,655.98, consisting of (i) the unpaid principal amount under the Winterwood Gardens Note

of $2,361,000.00, and (ii) the aggregate accrued, and unpaid interest under the Winterwood

Gardens Note of $55,655.98. Interest continues to accrue at the per diem rate of $596.15, and

pursuant to the Winterwood Gardens Loan Documents, fees, costs, expenses, and other charges

continue to accrue, which are part of Plaintiff’s total damages claim under the Winterwood

Gardens Loan Documents.

D.        Demands for Payment of Loan

                82.    By notice dated November 26, 2024, (the “SAR Palazzo Ohio Notice of

Demand”), Plaintiff notified SAR Palazzo Ohio that an Event of Default had occurred. Plaintiff

also accelerated all outstanding principal due under the Tall Oaks Loan Documents and demanded

in full the payment of all then accelerated principal plus accrued and unpaid interest and Plaintiff’s

fees and costs, including attorney’s fees. Plaintiff reserved all rights and remedies available to it

under the Tall Oaks Loan Documents, at law, or in equity. A true and correct copy of the SAR

Palazzo Ohio Notice of Demand is attached hereto as Exhibit 28 and incorporated by reference

herein.

                83.    By notice dated November 26, 2024, (the “SAR Palazzo Ohio 3 Notice of

Demand”), Plaintiff notified Borrower-Defendant that an Event of Default had occurred. Plaintiff

also accelerated all outstanding principal due under the Winterwood Apartments Loan Documents

and demanded in full the payment of all then accelerated principal plus accrued and unpaid interest

and Plaintiff’s fees and costs, including attorney’s fees. Plaintiff reserved all rights and remedies


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available to it under the Winterwood Apartments Loan Documents, at law, or in equity. A true

and correct copy of the SAR Palazzo Ohio 3 Notice of Demand is attached hereto as Exhibit 29

and incorporated by reference herein.

               84.     By notice dated November 26, 2024, (the “SAR Palazzo Ohio 4 Notice of

Demand”), Plaintiff notified Borrower-Defendant that an Event of Default had occurred. Plaintiff

also accelerated all outstanding principal due under the Winterwood Gardens Loan Documents

and demanded in full the payment of all then accelerated principal plus accrued and unpaid interest

and Plaintiff’s fees and costs, including attorney’s fees. Plaintiff reserved all rights and remedies

available to it under the Winterwood Gardens Loan Documents, at law, or in equity. A true and

correct copy of the SAR Palazzo Ohio 4 Notice of Demand is attached hereto as Exhibit 30 and

incorporated by reference herein.

E.     Remedies and Damages

               85.     As a result of Plaintiff’s acceleration of the outstanding principal balance

due under the Notes, the entire unpaid balance of the principal, interest, and all other sums under

the Loan Documents are immediately due and payable. As a consequence of these above-stated

breaches of the Loan Documents, the entire indebtedness (the “Indebtedness”) owed by the

Borrower-Defendants and the Guarantor under the Notes and Guaranties are due.

               86.     Plaintiff has performed all of the conditions and statutory requirements

precedent to the commencement of this action.

               87.     Notwithstanding the Notices of Default, Borrower-Defendants have failed

to pay in full the amounts owed at maturity or otherwise cure the ongoing Events of Default.

               88.     Plaintiff brings this action for money judgment, in mortgage foreclosure,

and for the appointment of a receiver without prejudice or waiver of any other rights or remedies

existing under the Loan Documents, or any other agreements, or which may be available at law or


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in equity.

               89.     As of January 15, 2024, there is due and owing collectively on the Loans

without defense, deduction, offset, recoupment, or counterclaim the total amount of

$14,645,283.27, consisting of (i) the aggregate unpaid principal amount under the Notes of

$14,308,000.00, and (ii) the aggregate accrued, and unpaid interest under the Notes of

$337,283.27. Interest continues to accrue, and pursuant to the Loan Documents, fees, costs,

expenses, and other charges continue to accrue, which are part of Plaintiff’s total damages claim

under the Loan Documents.

                       COUNT ONE – MORTGAGE FORECLOSURE

               90.     Paragraphs 1 through 89 of this Complaint are incorporated herein by

reference.

               91.     Plaintiff is the proper party to initiate the instant foreclosure proceeding

with respect to the Mortgages.

               92.     Borrower-Defendants executed the Notes, which are secured by the

Mortgages, in favor of Plaintiff.

               93.     Borrower-Defendants have defaulted on their obligations under the Notes,

the Mortgages, the Loan Agreements, and the other Loan Documents due to, and without waiving

any other defaults that may have occurred, the failure to make the required payments under the

Loan Documents.

               94.     Plaintiff is authorized by the Mortgages and by Ohio law to foreclose the

Mortgages in the event of a default by Borrower-Defendants.

               95.     There is due and owing on the Loans the sum of $14,645,283.27, together

with accruing default interest, fees, costs, expenses, and other charges under the Loan Documents.




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              96.    LawnMax is named as a Defendant as it recorded an Affidavit of

Mechanic’s Lien against the Properties on October 20, 2020, as Instrument Number

202010200163555, Recorder’s Office, Franklin County, OH.

              97.    Garver is named as a Defendant as it recorded an Affidavit of Mechanic’s

Lien against the Properties on February 9, 2024, as Instrument Number 202402090014089,

Recorder’s Office, Franklin County, OH.

              98.    Mighty Dog is named as a Defendant as it recorded an Affidavit of

Mechanic’s Lien against the Properties on March 12, 2024, as Instrument Number

202403120024069, Recorder’s Office, Franklin County, OH.

              99.    Stealth is named as a Defendant as it recorded an Affidavit of Mechanic’s

Lien against the Properties on July 22, 2024, as Instrument Number 202407220072294, Recorder’s

Office, Franklin County, OH.

              100.   Gutter is named as a Defendant as it recorded an Affidavit of Mechanic’s

Lien against the Properties on August 6, 2024, as Instrument Number 202408060078928,

Recorder’s Office, Franklin County, OH.

              101.   Ohio Heating is named as a Defendant as it recorded an Affidavit of

Mechanic’s Lien against the Properties on August 16, 2024, as Instrument Number

202408160083030, Recorder’s Office, Franklin County, OH.

              102.   K Kern is named as a Defendant as it recorded an Affidavit of Mechanic’s

Lien against the Properties on April 29, 2021, as Instrument Number 202104290076544,

Recorder’s Office, Franklin County, OH.

              103.   Integrated is named as a Defendant as it recorded an Affidavit of

Mechanic’s Lien against the Properties on August 30, 2024, as Instrument Number




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202408300088847, Recorder’s Office, Franklin County, OH.

                            COUNT TWO – MONEY JUDGMENT

               104.    Paragraphs 1 through 103 of this Complaint are incorporated herein by

reference.

               105.    Plaintiff is the current holder and is in possession of the Notes.

               106.    The Notes are in default to, and without waiving any other defaults that may

have occurred, Borrower-Defendants’ failure to make the required payments under the Loan

Documents.

               107.    As a result of the default, Plaintiff accelerated the outstanding principal

balance due under the Notes, and the entire unpaid balance of the principal, interest, and all other

sums are immediately due and payable by Borrower-Defendants.

               108.    As of January 15, 2025, the unpaid principal amount under the Notes is

$14,308,000.00, and the aggregate accrued, and unpaid interest under the Notes is $337,283.27.

The per diem interest is $3,612.77. Fees and expenses also continue to accrue.

                      COUNT THREE – APPOINTMENT OF RECEIVER

               109.    Paragraphs 1 through 108 of this Complaint are incorporated herein by

reference.

               110.    Pursuant to Section 3(e) of the Mortgages, upon the occurrence of an Event

of Default upon the Mortgage, Plaintiff may seek the appointment of a receiver over the Mortgaged

Properties as a matter of right, without consideration of the value of the Mortgaged Properties,

without the necessity of giving prior notice (oral or written) to Borrower(s). See Exhibits 3, 12,

21.

               111.    Borrower has expressly consented to the appointment of a receiver through




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the Mortgages. See id.

               112.    The Mortgages expressly entitle Plaintiff to the appointment of a receiver

to, among other things, collect rents, and manage and/or operate the Mortgaged Properties. See

id.

               113.    The Mortgages are in default.

               114.    Rule 66 of the Federal Rules of Civil Procedure governs the appointment of

a receiver in diversity jurisdiction cases. Fed. R. Civ. P. 66.

               115.    Based upon the foregoing, Plaintiff is entitled to the appointment of a

receiver with respect to the Mortgaged Properties.

WHEREFORE, PLAINTIFF DEMANDS JUDGMENT IN ITS FAVOR AND AGAINST
THE BORROWER-DEFENDANTS AS FOLLOWS:

       1.      On Count One:

                   a. That the Tall Oaks Mortgage be adjudged a valid lien upon the Tall Oaks

            Mortgaged Property, and that said lien be foreclosed; and that the Tall Oaks Mortgaged

            Property be ordered sold and that Plaintiff be paid out of the proceeds of such sale; and

            for such other relief, legal and equitable, as may be proper and necessary; and that all

            the other defendants herein be required to set up their liens or interest in the Tall Oaks

            Mortgaged Property or be forever barred from asserting the same;

                   b. That the Winterwood Apartments Mortgage be adjudged a valid lien upon

            the Winterwood Apartments Mortgaged Property, and that said lien be foreclosed; and

            that the Winterwood Apartments Mortgaged Property be ordered sold and that Plaintiff

            be paid out of the proceeds of such sale; and for such other relief, legal and equitable,

            as may be proper and necessary; and that all the other defendants herein be required to

            set up their liens or interest in the Winterwood Apartments Property or be forever



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          barred from asserting the same; and,

                 c. That the Winterwood Gardens Mortgage be adjudged a valid lien upon the

          Winterwood Gardens Mortgaged Property, and that said lien be foreclosed; and that the

          Winterwood Gardens Mortgaged Property be ordered sold and that Plaintiff be paid out

          of the proceeds of such sale; and for such other relief, legal and equitable, as may be

          proper and necessary; and that all the other defendants herein be required to set up their

          liens or interest in the Winterwood Gardens Property or be forever barred from

          asserting the same.

     2.      On Count Two:

                 a. Judgment against SAR Palazzo Ohio upon the Notes for the full unpaid

          principal in the amount of $7,096,000.00 and the unpaid interest as of January 15, 2025,

          in the amount of $167,274.40, which continues to accrue in the per diem amount of

          $1,224.88, plus Plaintiff’s attorneys’ fees and costs and interest accruing thereon at the

          Default Rate;

                 b. Judgment against SAR Palazzo Ohio 3 upon the Notes for the full unpaid

          principal in the amount of $4,851,000.00 and the unpaid interest as of January 15, 2025,

          in the amount of $114,352.89, which continues to accrue in the per diem amount of

          $1,224.88, plus Plaintiff’s attorneys’ fees and costs and interest accruing thereon at the

          Default Rate; and,

                 c. Judgment against SAR Palazzo Ohio 4 upon the Notes for the full unpaid

          principal in the amount of $2,361,000.00 and the unpaid interest as of January 15, 2025,

          in the amount of $55,655.98, which continues to accrue in the per diem amount of

          $596.15, plus Plaintiff’s attorneys’ fees and costs and interest accruing thereon at the




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               Default Rate.

          3.      On Count 3, that the Court appoint a receiver over the Mortgaged Properties;

          4.      On all Counts, for interest, costs, attorney fees, and expenses; and

          5.      On all Counts, for all other relief to which the Plaintiff is entitled in law and in
equity.


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Dated: January 30, 2025                       Respectfully submitted,

                                              REED SMITH LLP

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                                              - and -

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